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    UNITED STATES DISTRICT COURT
    FOR THE DISTRICT OF NEW JERSEY
    ------------------------------------------------------X
    A & E HARBOR TRANSPORT, INC.,                                   CIVIL ACTION

                                       Plaintiff,                   Case No.: 2:20-cv-18509-SRC-CLW

                               v.


    TRI-COASTAL DESIGN
    GROUP, INC., and VOTUM
    ENTERPRISES, LLC,

                                      Defendants.

    ------------------------------------------------------X


                                     SECOND AMENDED COMPLAINT


            Plaintiff, A & E Harbor Transport, Inc., having its place of business at 10054 East

    Alondra Boulevard, Unit 203, Bellflower, CA, hereby complains of the defendants as follows:



                                                    FIRST COUNT

            1. The plaintiff is a corporation duly incorporated pursuant to the laws of the State of

    California.

            2. The defendants are corporations formed under the laws of the State of New Jersey.

            3. The plaintiff is in the business of trucking and transportation.

            4. Between August 3, 2017 and March 12, 2020 the plaintiff provided trucking and

    transportation services to the defendants.

            5. There is due and owing on said account the amount of $126,459.20.

            6. Payment has been demanded but not received.


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            WHEREFORE, plaintiff demands judgment against the defendants for $126,459.20 plus

    interest, attorney’s fees and costs of suit.


                                              SECOND COUNT

            1. Plaintiff repeats each and every allegation of the first count as if the same were set

    forth at length herein.

            2. Plaintiff sues for the reasonable value of goods and services.

            WHEREFORE, plaintiff demands judgment against the defendants for $126,459.20 plus

    interest, attorney’s fees and costs of suit.


                                               THIRD COUNT

            1. Plaintiff repeats each and every allegation of the first two counts as if the same were

    set forth at length herein.

            2. As a result of the foregoing the defendants have been unjustly enriched.

            WHEREFORE, plaintiff demands judgment against the defendants for $126,459.20 plus

    interest, attorney’s fees and costs of suit.


                                              FOURTH COUNT

            1. Plaintiff repeats each and every allegation of the first three counts as if the same were

    set forth at length herein.

            2. There is due in a certain book account the sum of $126,459.20

            WHEREFORE, plaintiff demands judgment against the defendants for $126,459.20 plus

    interest, attorney’s fees and costs of suit.




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                                              FIFTH COUNT

            1. Plaintiff repeats each and every allegation of the first four counts as if the same were

    set forth at length herein.

            2. The Votum expressly or impliedly assumed the liabilities of Votum.

            3. There is an actual or de facto consolidation or merger of both companies.

            4. Votum is a mere continuation of the Tricoastal.

            5. The transaction was entered into fraudulently to escape liability.

            6. There is a continuity of management, personnel, physical location, assets, and general

    business operations.

            7. The defendant Votum Enterprises, LLC is a successor interest to the defendant Tri-

    Coastal Design Group, Inc.

            8. At the time that Tri-Coastal Design Group, Inc. allegedly went out of business, Votum

    Enterprises, LLC began to continue the business of Tri-Coastal Design Group, Inc.

            9. Votum Enterprises, LLC was incorporated for the purposes, in whole or in part, of

    continuing the business of Tri-Coastal Design Group, Inc.

            10. Votum Enterprises, LLC was formed on July 30, 2020 by Certificate of Formation

    filed with the State of New Jersey.

            11. Tri-Coastal attempted to defraud its creditors by advising them this it was out of

    business with no assets.

            12. The formation of Votum Enterprises, LLC coincided with the approximate date that

    Tri-Coastal Design Group, Inc., through its attorney Tedd S. Levine, declared that it would “no

    longer in business.” Votum made that representation on multiple occasions. On September 18,

    2020 Tri-Coastal notified all Tri-Coastal’s creditors, in writing, that IDB “foreclosed on its

    perfected security interest and took ownership of all of all of Tri-Coastal Designs assets.”

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           13. The letter from Tedd S. Levine alleges that the assets of Tri-Coastal Design Group,

    Inc’s asset were “foreclosed on” on “in the beginning of September, 2020.”

           14. The letter further represents that “notification pursuant to Section 9-611 of the UCC

    was timely sent” the plaintiff did not receive any such notice. Further, the plaintiff has been in

    touch with at least one other creditor who confirms that it did not receive any notices either.

           15. One or more creditors did not receive any of such letters, including the plaintiff

    herein. It is unknown at this point how many other creditors were not properly notified.

           16. In fact, Tri-Coastal only transferred some of its assets to IDB but retained, and

    continues to retain, other valuable assets.

           17.    The filed Certificate of Formation of Votum Enterprises, LLC shows that the

    Member/Manager is Tedd S. Levine, the same person who represented Tri-Coastal Design

    Group, Inc.

           18. Votum Enterprises, LLC is the legal successor to the liabilities of Tri-Coastal Design

    Group, Inc, is a mere continuation of Tri-Coastal Design Group, Inc., and/or the transfer of

    interest was entered into fraudulently to escape liability.

           19.    Tri-Coastal represented that it was out of business that representation was a

    falsehood.

           20. Tri-Coastal has also transferred its internet presence to Votum. A link on Walmart.com

    for Tri-Coastal products directs the user to the Votum page. Thus, potential purchasers of Tri-

    Coastal products are directed to purchase products directly from Votum. The reason is that Votum is

    selling the products of Tri-Costal. Cleary, Tri-Coastal notified Walmart.com of same and purposely

    directed same.

           21. At least some employees of Tri-Coastal, if not all, have been switched to Votum. An

    email sent on September 21, 2020 from Tri-Coastal to the plaintiff. The subject of the email was

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    “A&E Check” and concerns $2,815 owed from Tri-Coastal to the plaintiff. The email was sent

    to the following recipients of Tri-Coastal: edith@tricoastalnj.com, jmendoza@tricoastalny.com,

    and dennisjr@tricoastalnj.com. These are clearly all employees of Tri-Coastal as shown by the

    Tri-Coastal email domain. There were no employees of Votum on that email. Votum was not

    even privy to that email.

           22. Further, on September 21, 2020 Votum Enterprises, LLC began to pay the bills of

    Tri-Coastal Design Group, Inc.         The plaintiff received a check for $2,815 from Votum

    Enterprises, LLC, drawn on Votum’s bank account at Investors Bank, to satisfy one of the open

    invoices owed by Tri-Coastal Design Group, Inc. and owed to the plaintiff.

           23. In spite of same, Votum still paid at least one known debt of Tri-Coastal to the

    plaintiff. It is unknown at this time how many other debts were similarly paid.

           24. Tri-Costal intended that Votum be a mere continuation of Tri-Coastal.

           25. On or about September 21, 2020 Votum handwrite a check and tendered it to the

    plaintiff for payment in full of a Tri-Coastal debt.

           26. It is alleged that Votum paid other debts of Tri-Coastal because both entities were

    substantially the same.

           27. The books are records of both companies are the same or related. If Votum and Tri-

    Coastal indeed had different software, books, records, and banks then it would have impossible

    for Votum to have paid the debt of Tri-Coastal.

           28. Both companies were wholesalers of gifts, cosmetics, bath products, stationary and

    apparel. As to Votum, a review of its filed Certificate of Formation states that its purpose is

    “Wholesale of gift products, namely cosmetics, bath & body products, stationary products, and

    apparel accessories.”

           29. As to Tri-Coastal, its business was identical.
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           30. Michael Mastrangelo and Marvin Stutz were the owners and officers of Tri-Coastal.

    Votum was then formed on July 30, 2020 as per the filed certificate of formation.

           31. Less than one month later, on August 24, 2021, Tri-Coastal then executed the

    Peaceful Possession of Collateral agreement. Within days thereafter, both Michael Mastrangelo

    and Marvin Stutz became owners and officers of Votum.

           32. The owner of Tri-Coastal is Michael Mastrangelo. The individual shareholders of

    Tri-Coastal are Michael Mastrangelo who owns 60% and served as Tri-Coastal’s President and

    Marvin Stutz who owns 40% and served as Tri-Coastal’s Vice President.

           33. However, the Operating Agreement of Votum shows that Michael Mastrangelo is the

    Operating Manager. Michael Mastrangelo is the President. The Operating Agreement also

    appoints Michael Mastrangelo as President and Marvin Stutz as Co-President of Votum.

           34. Thus, Michael Mastrangelo was a co-owner of Tri-Coastal. Marvin Stutz was a co-

    owner of Tri-Coastal. Michael Mastrangelo is now the President and Operating Manager of

    Votum. Likewise, Marvin Stutz is Vice-President of Votum.

           35. Michael Mastrangelo, and/or and his wife Beth Mastrangelo, and/or Marvin Stutz are

    the de facto owners Votum.

           36. The attorney for Tri-Coastal was Tedd Levine, Esq. He was the attorney of record

    when Tri-Coastal negotiated with and ultimately reached agreement with IDB for the voluntary

    surrender of some of Tri-Coastal’s assets to IDB and for Tri-Coastal’s retention of other assets.

    Mr. Levine also prepared and mailed a letter to Tri-Coastal’s creditors informing them that Tri-

    Coastal was “out of business”.

           37. Mr. Levine now also represents Votum. Mr. Levine has represented Votum before

    this Court and executed the Certificate of Formation of Votum as Trustee of Prego Trust. The



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    Certificate of Formation for Votum shows that Tedd S. Levine was the only member of the

    Votum, and also the only authorized representative of Votum.

            38. The owner of Tri-Coastal Design Group, Inc. and Votum Enterprises, LLC are the

    same, or are of the same family, and have a common ownership interest. The aforementioned

    check tendered by Votum Enterprises, LLC was signed by Dennis Mastrangelo, one of the

    owners and/or managers of Tri-Coastal Design Group, Inc.

            WHEREFORE, plaintiff demands judgment against the defendant Votum Enterprises,

    LLC for $126,459.20 plus interest, attorney’s fees and costs of suit.


                                             SIXTH COUNT

            1. Plaintiff repeats each and every allegation of the first five counts as if the same were

    set forth at length herein.

            2. Both entities are co-mingled in such a fashion that Votum is a successor to Tri-

    Coastal.

            3. Votum expressly or impliedly assumed the liabilities of Votum.

            4. There is an actual or de facto consolidation or merger of both companies

            5. Votum is a mere continuation of the Tri-Coastal.

            6. Votum is attempting to fraudulently to escape liability.

            7. Tri-Coastal has pervasive control of Votum and/or Votum has pervasive control of

    Tri-Coastal.

            8. There is a confused intermingling of activity between the two entities who are both

    engaged in a common enterprise with substantial disregard of the separate corporate forms or

    serious ambiguity about the manner and capacity in which the corporations and their

    representatives are acting.


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           9. Tri-Coastal has abused the privilege of incorporation by using Votumto perpetrate a

    fraud or injustice, or otherwise to circumvent the law.

           WHEREFORE, plaintiff demands judgment against the defendant Votum Enterprises,

    LLC for $126,459.20 plus interest, attorney’s fees and costs of suit.




                                                         ____________________________________
                                                         MICHAEL SCHWARTZBERG, ESQ.
                                                         Attorney for Plaintiff

    Dated: March 16, 2021




                               CERTIFICATION PURSUANT TO R. 4:5-1

           Pursuant to Rule 4:5-1, the undersigned certifies that to the best of his knowledge, the

    within matter in controversy are not the subject of any other action pending in any other Court or

    of a pending arbitration proceeding nor is any action or arbitration contemplated nor are other

    parties required to be joined in this action.



                                                         ___________________________________
                                                         MICHAEL SCHWARTZBERG, ESQ.
                                                         Attorney for Plaintiff


    Dated: March 16, 2021




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               CERTIFICATION OF NO CONFIDENTIAL PERSONAL IDENTIFIERS

           I certify that confidential personal identifiers have been redacted from any documents

    now submitted to the Court and will be redacted from all documents in the future in accordance

    with R. 1:38-7(b).




                                                      ___________________________________
                                                      MICHAEL SCHWARTZBERG, ESQ.
                                                      Attorney for Plaintiff


    Dated: March 16, 2021




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